UNITED STATES DISTRICT COURT
FOR THE
MIDDLE DISTRICT OF TENNESSEE

United States of America

V. Case No. 3-22-cr-00282

Glen Casada and Cade Cothren
Defendants

we ee”

MEMORANDUM IN SUPPORT OF MOTION TO QUASH SUBPOENNA

William E. Young (Bill Young) received a subpoena to attend the trial in this case.
As stated in Bill Young’s Affidavit, he is a state official. He is Executive Director of the
Tennessee Bureau of Ethics and Campaign Finance (“TBECF”). The subpoena was
issued by Defendants’ counsel. Significantly, no one from the offices of Defendants’
counsel has contacted Director Young or otherwise attempted to determine his
knowledge about the matters in this case. Director Young’s Affidavit was submitted to
Defendants’ counsel and Director Young offered to talk with persons from the offices of
Defendants’ counsel, but no contact has been made by the Defendants’ counsel.

Because Director Young has no information regarding the matters in this case,
the subpoena places an undue burden upon him. Presumably, the Defendants’ counsel
issued the subpoena to him because they presumed he had some involvement with
overseeing the operations of Phoenix Solutions. However, Defendants’ counsel are
mistaken in that regard. Neither TBECF nor Director Young had any involvement with
Phoenix Solutions being approved as a mailer program vendor to provide constituent
mail services to members of the Tennessee General Assembly. Neither TBECF nor

Director Young conducted any investigation in the operations of Phoenix Solutions, and

Case 3:22-cr-00282 Document 256 Filed 02/18/25 Page 1 of 2 PagelD #: 1635
neither TBECF nor Director Young is in possession of any information or documents
related to the operations of Phoenix Solutions.

Because Director Young and TBECF are not in possession of any information or
documents related to the matters before this Court, the subpoena presents an undue
burden upon Director Young and in any event Director Young has no relevant
information regarding the matter pending before this Court. For this reason, Director

Young requests the Court to quash the subpoena issued to him.

Respectfully submitted,

HUBBARD & SMITH

By: Ain Abhhe Sf

William B. Hubbard (2770)

40 Rutledge Street

Nashville, Tennessee 37210

Office: (615) 251-5446

Facsimile: (615) 736-6095

Email: whubbard@hubbardsmith.com

Attorneys for William E. Young

Case 3:22-cr-00282 Document 256 Filed 02/18/25 Page 2 of 2 PagelD #: 1636
